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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                          Chapter 11

    THE GREAT ATLANTIC & PACIFIC TEA                Case No. 15-23007-rdd
    COMPANY, Inc., et al.,1
                                                    Jointly Administered
                           Debtors.
    THE GREAT ATLANTIC & PACIFIC TEA
    COMPANY, INC., et al.,
                                                    Adv. Proc. No. 18-08245-rdd
                                Plaintiffs,
                                                    DEFENDANTS’ REPLY
                         v.                         MEMORANDUM OF LAW IN SUPPORT
                                                    OF MOTION FOR SUMMARY
    PEPSICO, INC., et al.,                          JUDGMENT ON COUNTS ONE
                                                    THROUGH FOUR AND PARTIAL
                                Defendants.         SUMMARY JUDGMENT ON COUNTS
                                                    FIVE THROUGH TWENTY-FIVE



1
 The Debtors are: 2008 Broadway, Inc.; The Great Atlantic & Pacific Tea Company, Inc.; A&P Live Better,
LLC; A&P Real Property, LLC; APW Supermarket Corporation; APW Supermarkets, Inc.; Borman’s, Inc.;
Delaware County Dairies, Inc.; Food Basics, Inc.; Kwik Save Inc.; McLean Avenue Plaza Corp.; Montvale
Holdings, Inc.; Montvale-Para Holdings, Inc.; Onpoint, Inc.; Pathmark Stores, Inc.; Plainbridge LLC;
Shopwell, Inc.; Super Fresh Food Markets, Inc.; The Old Wine Emporium of Westport, Inc.; Tradewell
Foods of Conn., Inc.; and Waldbaum, Inc. (collectively, the “Debtors”).
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                                          INTRODUCTION

        The Plaintiff’s Memorandum of Law in Support of its Opposition to Defendants’ Motion

for Summary Judgment on Counts One Through Four and Partial Summary Judgment on Counts

Five Through Twenty-Five (the “Response”), 2 demonstrates that this Court should grant the

Motion in its entirety and enter summary judgment in Pepsi’s favor. The Debtors mistake the

fundamental differences between a debtor-in possession and a creditors’ committee in a chapter

11 case and conflate several separate entities that have different identities, rights, and duties. (See,

e.g. Response, at 2-3, 8-10). Neither of the Debtors’ primary arguments can alter the plain facts:

(1) the Debtors filed their untimely complaint almost nine months after the § 546 statute of

limitations had run as to them (See Bankr. Dkt. No. 1);3 and (2) the Debtors were not parties to the

Tolling Agreements executed solely by and between Pepsi and the Official Committee of

Unsecured Creditors (the “Committee”). (See Declaration of Joseph D. Frank [Dkt No. 35]

(the “Frank Decl.” at Ex. 10-15). Contrary to the Debtors’ statements that the original complaint

was “timely filed on behalf of the Debtors and the Committee” (see Response, at 2), that filing is

a nullity because, although it was filed in the Committee’s name, it was filed without the

Committee’s authority, by an attorney who did not represent the Committee. See Bankr. Dkt. No.

1; Declaration of Jeremy Kleinman [Dkt. No. 34] (“Kleinman Decl.”), Ex. 18. The Debtors also

have been unable to dispute that the Tolling Agreements are anything other than plain-language,

unambiguous contracts between only two parties and signatories, Pepsi and the Committee.




2
 Capitalized, but undefined, terms in this Reply shall have the meanings ascribed to them in Pepsi’s
Memorandum of Law in Support of Motion for Summary Judgment [Dkt. No. 36] (the “Opening Brief”).
3
  References to “Dkt. No. ___” shall refer to items docketed in this proceeding. References to the docket
in the Debtors’ bankruptcy case (Case No. 15-23007-rdd) will be made to “Bankr. Dkt. No. __”.


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       The Debtors’ third argument, that Pepsi’s request for partial summary judgment on Counts

Five through Twenty-Five should be denied as moot, is not really an argument, but rather

a “waiver” by the Debtors of the claims on which Pepsi seeks summary judgment. To maintain a

clear record, and given that Pepsi has fully briefed a valid motion for summary judgment on the

statute of limitations governing Counts Five through Twenty-Five, the only satisfactory and easily

enforceable resolution is for the Court to grant summary judgment on those counts as to any claim

based on a contract arising before April 16, 2014.

                                           ARGUMENT

I.     THE DEBTORS IMPROPERLY CONFLATE SEVERAL ENTITIES TO JUSTIFY
       THEIR LATE FILING

       In their Response, the Debtors either misunderstand, or strategically disregard, the

distinctions between the different entities involved in these bankruptcy cases. They conflate the

Committee and the Debtors (Response, at 8, 11). They assert that the Oversight Committee can act

for and bind its individual member-constituents (Response, at 11), and that the Debtors “own” the

bankruptcy estates and that such “ownership” makes them the “real parties in interest” to contracts

to which they are not parties and that they did not execute (Response, at 20-22).

       In addressing Pepsi’s argument for summary judgment, the Debtors’ Response raises only

two real questions: (1) Whether the original complaint, purportedly filed by the Debtors and the

Committee, was properly filed by the Committee within the tolled periods set forth in the Tolling

Agreements between Pepsi and the Committee; and (2) whether the Tolling Agreements tolled the

§ 546 statute of limitations for the Debtors, who are neither signatories nor named parties. Because

each entity’s identity, rights, and duties are outcome-determinative for these questions, this section

addresses those discrete identities, rights, and duties.




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       A.      Who the Entities Are

       In a chapter 11 case, “debtor” means the entity “concerning which a case under this title

has been commenced.” 11 U.S.C. § 101(13). “Debtor in possession” means the debtor, unless a

trustee has been appointed. 11 U.S.C. § 1101(1). In this case, the Great Atlantic and Pacific Tea

Company, Inc. and its affiliated debtors are the debtors and debtors in possession.

       The Committee is an unsecured creditors’ committee. Such committees are appointed by

the U.S. trustee and consist of creditors holding unsecured claims. See 11 U.S.C. § 1102(a). Here,

the Committee includes some of the Debtors’ largest prepetition unsecured creditors. See Bankr.

Dkt. Nos. 1, 164.

       The commencement of a case creates an “estate,” which, with exceptions not applicable

here, is “comprised of all legal and equitable interests of the debtor in property at the

commencement of the case.” 11 U.S.C. § 541(a)(1). A bankruptcy estate is a separate legal entity,

with its own assets, independent of the debtor. See, e.g., Indian Harbor Ins. Co. v. Zucker, 860

F.3d 373, 378 (6th Cir. 2017) (explaining that bankruptcy filing created estate as new entity distinct

from the debtor); In re Cyberco Holdings, Inc., 431 B.R. 404, 428 (Bankr. W.D. Mich. 2010) (“The

Bankruptcy Code is unequivocal that a separate, legally recognizable entity—i.e., the bankruptcy

estate—is created whenever a bankruptcy case is filed.”). Upon filing of the petition, “property of

the estate is distinct from property of the debtor.” Bell v. Bell (In re Bell), 225 F.3d 203, 215 (2nd

Cir. 2000). Contrary to the Debtors’ assertions (see Response, at 22, 25), a debtor does not own a

bankruptcy estate. See In re Quality Truck & Diesel Serv., Inc., 251 B.R. 682, 686 (S.D.W.V.

2000) (explaining that the estate holds its own assets until a plan of reorganization is confirmed,

revesting the assets in the reorganized debtor). Rather, “[a] bankruptcy estate is a legal entity that

exists separate and apart from the petitioning debtor. As for the estate’s trustee or debtor-in-



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possession, they are simply the representatives through which this fictional entity is able to act.”

Richardson v. Michigan Bell Tel. (In re Lucre), 434 B.R. 807, 832 n. 57 (Bankr. W.D. Mich. 2000).

       The Oversight Committee, on whose authority the Debtors rely to justify their attorney’s

filing of a complaint in the name of the Committee (see Response, at 11), was not formed pursuant

to statute. The Oversight Committee, comprised of one member representing each of the Debtors,

the Committee, and certain of the Debtors’ secured lenders, was formed by agreement among the

Debtors, the Committee, and certain secured lenders, to perform the duties set forth in section 4(a)

of the GSA. (See GSA, §§ 1, 4(a)). The agreement was approved by the Bankruptcy Court.

       B.      The Rights and Duties of the Debtors, Committee, and Oversight Committee

       Just as the Debtors, the Committee and the Oversight Committee are separate entities, each

has separate rights and duties. A debtor in possession may operate the debtor’s business. 11 U.S.C.

§ 1108. A debtor in possession may sue or be sued. See 11 U.S.C. §§ 323, 1107(a). A debtor in

possession owes fiduciary duties to the bankruptcy estate and all its creditors. Smart World

Technologies, LLC v. Juno Online Services, Inc. (In re Smart World Technologies, LLC), 423 F.3d

166, 175 (2d Cir. 2005) (citing Wolf v. Weinstein, 372 U.S. 633, 649–50, 83 S.Ct. 969, 10 L.Ed.2d

33 (1963); In re Sillerman, 605 B.R. 631, 640 (Bankr. S.D.N.Y. 2019). “As fiduciaries, the

debtor[s]-in-possession . . . are obligated to treat all parties to the case fairly, maximize the value

of the estate, and protect and conserve the debtor’s property.” Advanced Contracting Solutions,

Inc. v. Metallic Lathers and Reinforcing Ironworkers Local 4 (In re Advanced Contracting

Solutions, Inc.), 582 B.R. 285, 304 (Bankr. S.D.N.Y. 2018) (citations and quotations omitted).

Here, the Debtors owe these duties to their estates and to all creditors, including unsecured

creditors, such as those represented by the Committee, and secured creditors, such as the

noteholders who have a seat on the Oversight Committee.



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        On the other hand, a creditors’ committee may not operate the debtor’s business. Official

Comm. of Asbestos Claimants of G-I Holding, Inc. v. Heyman, 342 B.R. 416, 423 (S.D.N.Y. 2006).

Unlike a debtor in possession, a committee has no automatic, statutory right to sue on behalf of a

bankruptcy estate. Official Comm. of Equity Security Holders of Adelphia Communications Corp.

v. Official Comm. of Unsecured Creditors of Adelphia Communications Corp. (In re Adelphia

Communications Corp.), 544 F.3d 420, 423 (2d Cir. 2005). Nor is a committee a fiduciary to the

debtors or the bankruptcy estate. G-I Holding, 342 B.R. at 423 (S.D.N.Y. 2006). A committee is

not required to consider the best interests of the estate but must pursue “whatever lawful course

best serves the interests of the class of creditors represented.” Official Comm. of Unsecured

Creditors v. Stern (In re SPM Mfg. Corp.), 984 F.2d 1305, 1315-16 (1st Cir. 1993). A creditors’

committee owes fiduciary duties only to its constituents, a group of similarly-situated creditors.

G-I Holding, 342 B.R. at 423; see also SPM Mfg., 984 F.2d at 1315. A committee’s duties include

monitoring and supervising the debtor in possession as a partisan in support of its constituents’

interests. In re Refco, Inc., 336 B.R. 187, 195 (Bankr. S.D.N.Y. 2006). Therefore, a committee’s

duties to its constituents may cause a committee to be adversarial to a debtor or its estate. Id. (citing

In re Daig Corp.,17 B.R. 41, 43 (Bankr. D. Minn.1981); SPM Mfg., 984 F.2d. at 1316 (same).

        The contractually created Oversight Committee has the limited duties of overseeing and

directing the “prosecution, settlement, abandonment or other decisions regarding the Avoidance

Actions.” (GSA, § 4(a)). The GSA directs that the Avoidance Actions “shall” be pursued by the

Committee and its counsel, Pachulski, and further provides that the Oversight Committee will

select alternative counsel to Pachulski for the prosecution of Avoidance Actions if Pachulski has

a conflict of interest. (Id.).




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       C.      Conditions on the Rights of Each Entity to Retain Counsel in a Bankruptcy
               Case

       Subject to court approval, a debtor may retain attorneys. 11 U.S.C. § 327(a). The Debtors

have filed three applications to employ Gibbons, P.C., first as an “ordinary course” professional,

then as “special counsel,” and finally as “special conflicts counsel” to pursue the “Debtors’

litigation of their Avoidance Action and contractual claims against the PepsiCo entities.” See

Supplemental Application of Debtors Pursuant to 11 U.S.C. § 327(e), Fed. R. Bankr. P. 2014 and

Local Rule 2014-1 for Authority to Retain and Employ Gibbons P.C. as Special Conflicts Counsel

to the Debtors Nunc Pro Tunc to April 2, 2018 [Bankr. Dkt. No. 4064], ¶ 22). In connection with

their retention of Gibbons, the Debtors further stated:

       the Oversight Committee has determined that it is in the best interest of the Debtors,
       their creditors and their bankruptcy estates: (i) for the Debtors to bring an action
       asserting both Avoidance Action claims (which the Debtors are not prohibited from
       pursuing) and contractual claims (which the Committee is not authorized to bring)
       against the PepsiCo Entities; and (ii) for Gibbons to represent the Debtors in that
       action.

(Id., ¶ 21 (emphases added)).

       Subject to court approval, a committee may also retain attorneys. 11 U.S.C. § 1103(a).

However, a committee’s selection of attorneys is subject to additional conditions not imposed on

a debtor in possession—it must be made at a scheduled committee meeting at which a majority of

committee members are present. Id. An attorney retained by a committee may not “while employed

by such committee, represent any other entity having an adverse interest in connection with the

case.” 11 U.S.C. § 1103(b).

       The Oversight Committee was not created by statute and has no statutory right to retain

counsel. The Oversight Committee is the product of a Court-approved agreement among the

parties to the GSA. The GSA makes no provision for the Oversight Committee to retain its own



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attorneys; it merely provides that the Oversight Committee “shall select alternative counsel” if the

Committee’s counsel of record, Pachulski, has a conflict of interest. (GSA, § 4(a)).

       These important distinctions demonstrate that the parties, their rights, and their retained

counsel are not interchangeable at the convenience of the Debtors.

II.    THE ORIGINAL COMPLAINT WAS NOT FILED BY, AND IS A NULLITY AS
       TO, THE COMMITTEE

       In their Response, the Debtors argue that “the Debtors and the Committee filed their

Original Complaint in this Adversary Proceeding on April 16, 2018 within the § 546 Statute of

Limitations as that statute had been extended by the Tolling Agreements.” (Response, at 14)

(original emphasis). In fact, the Committee never filed any complaint against Pepsi. Rather, the

Debtors’ attorneys filed the Original Complaint in the Committee’s name, apparently without the

Committee’s knowledge (See Declaration of Andrew W. Caine, Esq. in Support of Debtors’

Opposition to Defendants’ Motion for Summary Judgment [Dkt No. 42] (the “Caine Decl.”), ¶¶

15-16) and certainly without its consent (see id., ¶ 16 (stating that “Pachulski noted to the

Oversight Committee and Gibbons that the Gibbons firm had previously been retained in the

chapter 11 cases as special counsel to the Debtors, and Gibbons thereafter corrected the complaint

accordingly”) (emphases added)). To that end, the Original Complaint was signed by David Crapo

of the Gibbons firm, retained special counsel to the Debtors, as “Attorneys for Plaintiffs The

Official Committee of Unsecured Creditors for the Bankruptcy Estates of The Great Atlantic &

Pacific Tea Company, Inc., et al., and The Great Atlantic & Pacific Tea Company, Inc.,” (see

Frank Decl., Ex. 1 p. 69), even though Mr. Crapo never has represented the Committee in these

bankruptcy cases. As a result, putting aside the fact that filing the Original Complaint on behalf

of the Committee constituted an apparent willful or reckless misrepresentation to this Court, the

Original Complaint is a nullity having no legal effect as to the Committee. See Meredith v. The


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Ionian Trader, 279 F.2d 471, 473-74 (2d Cir. 1960) (“A suit initiated without authority from the

party named as plaintiff is a nullity and any judgment obtained in such a suit is void.”); see also

Irving Trust Co. v. Climax Rubber Co. (In re Retail Chemists Corp.), 66 F.2d 605, 608 (2d Cir.

1933) (collecting cases and stating that “[t]he Supreme Court has consistently treated a judgment

based upon an unauthorized appearance for a [party] by an attorney as a nullity”); Sutherland v.

Int’l Ins. Co. of New York, 43 F.2d 969, 972 (2d Cir. 1930) (modifying a lower court’s dismissal

of a complaint “on the ground that the suit was brought by solicitors without authority”); Hill v.

Day (In re Today’s Destiny, Inc.), 2009 WL 1232108 at *5 (Bankr. S.D. Texas, May 1, 2009)

(questioning the authority of an attorney who purported to represent an entire group of

intervenors).

       Indeed, the Declaration from the Committee’s actual attorney, Andrew Caine,

demonstrates that the Committee was unaware that Mr. Crapo intended to file the original

complaint on its behalf and immediately objected upon learning that Mr. Crapo had purported to

act as its attorney. (See Caine Decl. ¶¶ 14-16). Mr. Caine’s April 17, 2018 email explaining that

“Gibbons mistakenly filed the complaint on behalf of the Committee. We have asked that they

change the party to the Debtors,” supports the same conclusion. See Kleinman Decl., Ex. 18. The

Debtors themselves repeatedly concede that the Committee was not aware that Mr. Crapo intended

to file a complaint on its behalf and that Mr. Crapo had no authority from the Committee to do so.

See Response, at 2 (stating that “the Oversight Committee had authorized Gibbons P.C. to

prosecute the Pepsi Avoidance Actions and certain promotional accounts receivable claims against

the Defendants on behalf of both the Debtors and the Committee” (emphasis added) and that the

Committee’s actual attorneys “subsequently objected to the Original Complaint being filed on

behalf of the Committee as well as the Debtors but agreed that the Debtors could prosecute the



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claims asserted in the Original Complaint”); see also id., at 25 (claiming that “[o]nce Pachulski

was conflicted and then objected to the Committee being named a plaintiff in this Adversary

Proceeding, it was absolutely necessary for the Debtors to prosecute the Pepsi Avoidance Actions

in order to effectuate the very purpose of the Tolling Agreements—which was the preservation of

the Pepsi Avoidance Actions pending resolution by compromise or litigation”). The Debtors

further admit that “the Debtors along with the Oversight Committee endeavored to promptly file

the Original Complaint on April 16, 2018.” (Id., at 30).

        A suit brought by counsel without authority is void. Pueblo of Santa Rosa v. Fall, 273 U.S.

315, 319 (1927). The question of an attorney’s authority to represent a purported client may be

raised at any point in the proceedings. Meredith, 279 F.2d at 475 (Pueblo of Santa Rosa, 273 at

319 (1927); see also In re W.A.R. LLP, 2012 WL 3023431 at *1 (Bankr. D.D.C., July 24, 2012)

(same). A court always has the power to require an attorney to show his authority to appear. Pueblo

of Santa Rosa, 273 U.S. at 319.

        To show such authority, Gibbons, the Debtors’ attorney, would have to establish that it had

formed an attorney-client relationship with the Committee. “The formation of an attorney-client

relationship hinges upon the client’s [reasonable] belief that he is consulting a lawyer in that

capacity and his manifested intention to seek professional legal advice.” Merck Eprova AG v.

ProThera, Inc., 670 F. Supp. 2d 201, 210 (S.D.N.Y. 2009).4 In other words, Gibbons would have




4
  Courts in the Southern District of New York generally rely on a six-factor test to determine whether an
attorney-client relationship exists:

        1) whether a fee arrangement was entered into or a fee paid; 2) whether a written contract
        or retainer agreement exists indicating that the attorney accepted representation; 3) whether
        there was an informal relationship whereby the attorney performed legal services
        gratuitously; 4) whether the attorney actually represented the individual in one aspect of
        the matter (e.g., at a deposition); 5) whether the attorney excluded the individual from some
        aspect of [the] litigation in order to protect another (or a) client’s interest; 6) whether the
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to show that the Committee had asked Gibbons to represent it.5 Here, Gibbons could not have any

reasonable belief that it represents the Committee—Gibbons represents the Debtors. Pachulski

represents the Committee. Mr. Caine’s declaration and email message make it evident that the

Committee never entered into a retainer agreement with Gibbons, was surprised to discover that

Gibbons had filed a complaint purporting to represent the Committee, and that Gibbons’ doing so

was a “mistake.” See Caine Decl, ¶¶ 15-16; Kleinman Decl, Ex. 18.

        Further, the Debtors have filed three separate applications to employ Gibbons, each

application accompanied by declarations from Gibbons attorneys. Gibbons attorneys must

therefore understand the statutory requirements prerequisite to retention. Nevertheless, the

Committee has never filed an application to employ Gibbons, so if any retainer agreement exists

between Gibbons and the Committee, the Court has never approved it. As of the date of this Reply,

Gibbons has filed twenty-six Monthly Fee Statements seeking compensation as counsel for the

Debtors. (See Bankr. Dkt. No. 4479).             On the other hand, Gibbons has never requested

compensation for representing the Committee and would be ineligible to receive such

compensation because it has never been retained by the Committee and approved by the Court.

See In re Jones, 2013 WL1558088 at *2 (Bankr. M.D. Ala., April 12, 2013) (holding that if a

professional is not employed pursuant to statute, “he does not get paid”). The Jones court further



        purported client believes that the attorney was representing him and whether this belief is
        reasonable.

Merck Eprova, 670 F. Supp. 2d at 210. (citation omitted).
5
  Under New York law, an attorney-client relationship arises “when a contract is formed between an
attorney and client for the performance of legal services or the rendition of legal advice.” C.K. Indus. Corp.
v. C.M. Indus. Corp., 623 N.Y.S.2d 410, 412 (N.Y. App. Div. 1995). A court must look to the words and
actions of the alleged attorney and client to ascertain whether an attorney-client relationship was actually
formed. Id. at 412-13 (finding that no attorney-client relationship was formed where, among other things,
the purported client had not consulted the alleged attorney and had, in fact, consulted his own attorney).


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stated that “the Bar Association may take a dim view of a lawyer who purports to act on behalf of

another who is not a client.” Id. at *4, n. 6.

        Nor can the Oversight Committee’s selection of Gibbons to prosecute this case create an

attorney-client relationship with the Creditors’ Committee. The Debtors’ request that the Court

allow the Oversight Committee to force counsel on the Committee (see Response, at 30-31)

demonstrates that no such relationship was ever created. The Debtors ultimately concede that “[i]t

was only because of the objection of Pachulski . . . that the Committee was removed as a Plaintiff,”

(Response, at 31), reinforcing that there was never any attorney-client relationship between

Gibbons and the Committee and that Gibbons acted without authority by purporting to file the

Original Complaint on the Committee’s behalf.

III.    THE DEBTORS HAD AN INDEPENDENT RIGHT TO PURSUE THE
        AVOIDANCE ACTIONS BUT FAILED TO DO SO IN A TIMELY FASHION

        In their Response, the Debtors argue that they possessed an independent right to pursue the

Avoidance Actions against Pepsi. (See Response, at 28-29).        Indeed, in the Second Amended

Complaint, the Debtors allege that “[n]either the Settlement Order nor the GSA affords the

Committee sole authority or standing to litigate Avoidance Actions on behalf of the Debtors’

estates, and neither the Settlement Order nor the GSA impacts or limits the Debtors’ authority and

standing to prosecute contractual claims on behalf of their bankruptcy estates,” and “[b]ecause this

adversary proceeding includes both Avoidance Action and contractual claims against the

Defendant, the Debtors have elected to prosecute this Adversary Proceeding themselves.” (SAC,

¶¶ 7-8). Nevertheless, even as the deadline imposed by section 546 of the Bankruptcy Code

approached, the Debtors neither: (i) filed a complaint against Pepsi; (ii) requested a tolling

agreement from Pepsi; nor (iii) sought to join, or otherwise be included in the Tolling Agreement

that Pepsi was negotiating with the Committee.


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       Although, as discussed below, the Debtors now seek to claim the benefits of the Tolling

Agreements to salvage their untimely complaint, it is important to note that the Tolling Agreements

included a specific covenant not to sue that restricted only the Committee’s “right to commence,

file or initiate any Cause(s) of Action against Creditors . . . for the period beginning on the

Commencement Date through [an agreed-upon future date].” See e.g., Frank Decl., Ex. 10 at § 1

(emphasis supplied). Had the Debtors exercised their independent right to pursue the Avoidance

Actions against Pepsi on or before July 19, 2017, Pepsi would have had no basis to enforce against

the Debtors, the Committee’s covenant not to sue Pepsi.

       Having failed to timely file the Original Complaint against Pepsi and being unable to

include the Committee as a plaintiff and sign as its counsel, without its knowledge and consent,

the statute of limitations under section 546 of the Bankruptcy Code, untolled as to the Debtors,

bars the Debtors from belatedly bringing the Avoidance Actions against Pepsi, warranting

summary judgment on Counts One Through Four.

IV.    THE DEBTORS WERE NOT PARTIES TO, AND CANNOT ENFORCE, THE
       TOLLING AGREEMENTS TO RENDER THEIR COMPLAINT TIMELY

       The Debtors do not argue that they were actual parties to the Tolling Agreements, but, once

again conflating themselves with the estates, argue that “as the holders of the very—and only—

claims preserved by those agreements, [they] are the real parties in interest with respect to the

Tolling Agreements.” (Response, at 2-3). The Debtors’ argument boils down to a claim that they

should be considered parties to agreements to which they are neither signatories nor otherwise

named as parties because the bankruptcy estates would benefit from any recovery. This argument

blurs not only the distinctions among the entities in these bankruptcy cases, but the differences

between the existence of a cause of action and a given entity’s right to sue on it. The Debtors, by

conflating themselves, their estates, and the Committee, equate the tolling of an entity’s right to


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bring a cause of action with the existence of that cause of action, but they offer no legal basis for

this argument.6

          The Debtors, the Committee, and the Oversight Committee were all aware that the estates

might benefit by avoiding transfers to Pepsi from June 9, 2017, when the Committee first suggested

a tolling period, through the April 16, 2018 expiration of the Fifth Tolling Agreement.

Nevertheless, the Tolling Agreements tolled only the statutes of limitations applicable to “any

Cause(s) of Action brought by the Committee against [Pepsi].” (See, e.g., Frank Decl., Ex. 10, § 2

(emphasis added)). This limitation is knowing, unambiguous, and unequivocal.

          The Debtors also mistake the effect of a statute of limitations and the purpose of a tolling

agreement. Section 546 is a true statute of limitations. See, e.g. Pryor v. Rodriguez (In re

Rodriguez), 283 B.R. 112, 120 (Bankr. E.D.N.Y. 2001). Statutes of limitations may be tolled,

either equitably or by agreement. Police & Fire Retirement Sys. of City of Detroit v. IndyMac MBS,

Inc., 721 F.3d 95, 106 (2d Cir. 2013). Although both statutes of repose and statutes of limitations

impose time limits on potential plaintiffs, only a statute of repose extinguishes a cause of action

and the defendant’s liability. See, e.g., CTS Corp. v. Waldberger, 573 U.S. 1, 7-9 (2014)

(discussing the differences between statutes of repose and statutes of limitations). In contrast, a

statute of limitations does not extinguish a cause of action but provides an affirmative defense if a

plaintiff does not bring the cause of action within a specified time. See Ma v. Merrill Lynch, Pierce,

Fenner & Smith, Inc., 597 F.3d 84, 88 n. 4 (2d Cir. 2010). While the statute of limitations was

extended by agreement as to the Committee, the Debtors and Pepsi had no such agreement.

Although the Debtors now protest that “Counsel for the Defendants never advised counsel for the

Committee that it would enter into the Tolling Agreements only if the Committee were the counter-


6
    Pepsi’s Opening Brief cites ample contrary precedent. (See Brief at 7-13).


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party,” (See Response, at 12-13), there was no need or opportunity for Pepsi to do so. The

Committee was the counter-party, and no other was ever suggested (See Kleinman Decl., ¶¶ 4-9,

Ex. 2-6. In short, Debtors allowed their rights to bring Avoidance Actions against Pepsi to expire.

(See Response, at 9).

V.     THE TOLLING AGREEMENTS SHOULD NOT BE CONTORTED TO INCLUDE
       THE DEBTORS

       The Debtors simply were not parties to the Tolling Agreements and under these

circumstances, where they were well informed and could easily have requested inclusion, they

should not be allowed to torture the language of the Tolling Agreements out of its plain meaning.

Despite their remarkable assertions “[t]hat the Debtors are not identified as parties to the Tolling

Agreement is of no moment,” (see Response, at 25), and that they nevertheless are the “obvious

and intended beneficiaries of the Tolling Agreements,” (id., at 3), the Debtors should be held to

same legal standards as any other entity appearing before this Court. When an agreement is

unambiguous on its face it should be enforced according to the plain meaning of its terms. Solus

Alt. Asset Mgmt. LP v. Delphi Auto. PLC (In re DPH Holdings Corp.), 553 B.R. 20, 27 (Bankr.

S.D.N.Y. 2016).

       The language of a contract is not made ambiguous simply because the parties urge
       different interpretations in the litigation, nor does ambiguity exist where one party’s
       view strains the contract language beyond its reasonable and ordinary meaning, or
       where “ambiguity” emanates not from the language used in the contract but, rather,
       from a party’s subjective perception of its terms. If the agreement on its face is
       reasonably susceptible to only one meaning, a court is not free to alter the contract
       to reflect its personal notions of fairness and equity. This is especially apt if the
       contract “was negotiated between sophisticated, counseled business people
       negotiating at arm’s length.” In such circumstances, courts should be extremely
       reluctant to interpret an agreement as impliedly stating something which the parties
       have neglected to specifically include. Hence, courts may not by construction add
       or excise terms, nor distort the meaning of those used and thereby make a new
       contract for the parties under the guise of interpreting the writing.




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Id. (citations and quotations omitted). “When the terms of a written contact are clear and

unambiguous, the intent of the parties must be found within the four corners of the contract.” Id.

(citing Chesapeake Energy Corp. v. Bank of New York Mellon Trust Co., N.A., 773 F.3d 110, 114

(2d Cir. 2015).

       The Debtors “acknowledge that the parol evidence rule precludes the use of extrinsic

evidence to vary the terms of an agreement.” (Response, at 15). That should end the discussion.

Nevertheless, the Debtors still ask the Court to consider the “evidence of [the Tolling Agreements’]

purpose or the circumstances surrounding [their] execution” to interpret them. (Id. (emphasis

added)). While the Debtors attempt to use this Court’s decision in DPH Holdings to write

themselves retroactively into the Tolling Agreements, that decision, addressing efforts to interpret

the defined term “Distribution” in a confirmed chapter 11 plan (see DPH Holdings Corp., 553

B.R. at 25-36), does not stand for the proposition that the Court should substitute parties to an

unambiguous contract because the Debtors waited too long to file a lawsuit.

       No further interpretation is necessary or even permissible. The four corners of the Tolling

Agreements contain clear and unambiguous terms. The Tolling Agreements on their faces are

reasonably susceptible to only one meaning—that Pepsi and the Committee agreed to toll the

statute of limitations on actions brought by the Committee, while also agreeing that the Committee

would not sue for a fixed period. The Tolling Agreements expressly toll “Cause(s) of Action

brought by the Committee against [Pepsi].” (See e.g. Frank Decl., Ex. 10). The Debtors admit that

“they are not identified as parties to the Tolling Agreement” (Response, at 25), and that the Tolling

Agreements “were executed by [Pepsi] and the Committee appointed in the above-captioned

jointly administered Chapter 11 bankruptcy cases.” (Response, at 2). They acknowledge

repeatedly that they did not execute the Tolling Agreements. (See id., at 2, 8). They admit that



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“each of the Tolling Agreements expressly addressed statutes of limitations applicable to ‘any

cause of action brought by the Committee against Pepsi.’” (Id., at 9) (emphasis in original). By

themselves and by the Debtors’ own admissions, the Tolling Agreements are facially unambiguous

and by their plain meaning toll the § 546 statute of limitations only on actions brought by the

Committee.

VI.    THE DEBTORS’ REMAINING ARGUMENTS FAIL TO OVERCOME THE
       SUMMARY JUDGMENT MOTION

       The Tolling Agreements should be read as written and no interpretation should be used to

make a new contract immunizing Debtors’ untimely causes of action. Nevertheless, the Debtors

argue that: (1) the Debtors own the estate’s claims and should thus be made party to the Tolling

Agreements through construction and interpretation of those agreements (see Response, at 18-22);

(2) the Debtors were third-party beneficiaries to the Tolling Agreements (see Response, at 23-27);

and (3) the Committee was acting as the Debtors’ legal representative (see Response, at 29). Each

argument illustrates the Debtors’ fundamental misunderstanding of the identities, rights, and duties

of the individual entities involved in this case, as discussed above.

       A.      The Debtors Are Not the “Owners” of the Avoidance Action Claims Against
               Pepsi

       On the issue of ownership, the Debtors argue that Pepsi recognized this ownership of the

Avoidance Actions against Pepsi because Pepsi acknowledged in the Tolling Agreements that the

Debtors “have continued in the possession of their property and have continued to operate and

manage its businesses as a debtor in possession pursuant to sections 1107 and 1108 of the

Bankruptcy Code.” (See Response, at 7, 16, 21). While Pepsi recognizes that this formalistic

recital (which also identifies the Petition Date and defines the term “Bankruptcy Code”) is

contained in the Tolling Agreements, this language concerning “possession” does not conflict with



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the estates’ ownership of the Avoidance Actions, and is followed by a statement as to the

Committee’s authority to prosecute the Avoidance Actions. See e.g., Frank Decl., Ex. 10, at p. 2.

       The Debtors also misread the Tolling Agreements. The Debtors state that they are

“asserting the very Pepsi Avoidance Actions that the Tolling Agreements were intended to

preserve.” (Response, at 18). However, the Tolling Agreements are not agreements to preserve

causes of action—a statute of limitations does not extinguish a cause of action but merely allows

a defendant to assert the passage of time as an affirmative defense. The Tolling Agreements are

exactly what they say they are—agreements to toll “all statutes of limitation that have not

otherwise already run including but not limited to those set forth in Section 546 of the Bankruptcy

Code, applicable to any Cause(s) of Action that the Committee may bring against [Pepsi].” (See

e.g., Frank Decl., Ex. 10, at § 2). In other words, it was not the causes of action that the Tolling

Agreement preserved—it was the Committee’s right to bring them free from a time-based

affirmative defense and that agreement came with the Committee’s agreement not to sue Pepsi

during the tolling period. The Tolling Agreements simply do not grant the same rights or impose

the same obligations on the Debtors.

       B.      The Debtors are Not Third-Party Beneficiaries to the Tolling Agreements

       Nor are the Debtors third-party beneficiaries to the Tolling Agreements. The Debtors cite

Wilson Land Corp. v. Smith Barney, Inc., 1999 WL 1939270 *8 (E.D.N.C. May 17, 1999) to

support their argument that they should be considered as such, but all that the Wilson court held,

in considering motions to dismiss and applying North Carolina law, was that the contracts at issue

were ambiguous and parol evidence was required. Id.

       Unlike the Wilson agreements, the Tolling Agreements are not ambiguous, as the Debtors

concede. Rather, the Debtors ask the Court to ignore the plain language and construe the Tolling

Agreements to include the Debtors as unnamed third-party beneficiaries. (See Response, at 23
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(“It is beyond dispute that none of the Tolling Agreements expressly denies the Debtors the status

of third party beneficiaries”)). However, “[t]o create a third party right to enforce a contract, the

language of the contract must clearly evidence an intent to permit enforcement by the third party.”

Consol. Edison, Inc. v. Northeast Utils., 426 F.3d 524, 528 (2nd Cir. 2005) (emphasis in original).

That clear intention must be shown on the face of the agreement. Cavalry Constr., Inc. v. WDF,

Inc. (In re Cavalry Const., Inc.), 2013 WL 5682741 at *10 (S.D.N.Y. Oct. 18, 2013). The Debtors

admit that the Tolling Agreements do “not expressly provide for enforcement by the Debtors.”

(See Response, at 28). The Debtors once again rely on their alleged “ownership” of the causes of

action to write themselves into contracts that include only the Committee and Pepsi. Indeed the

Debtors recognize the express merger and inurement clauses in the Tolling Agreement (see

Response, at 21), neither of which support their position that they are the true parties in interest or

otherwise entitled to enforce the Tolling Agreements. However, the Debtors argue that the Tolling

Agreements do not contain an explicit paragraph disclaiming third party beneficiaries and that the

absence of such a provision entitles them to enforce the Tolling Agreements. That is simply not

the law, as set forth in Pepsi’s Opening Brief (See Opening Brief at 13-17). In addition, the

Debtors’ arguments that Pepsi and the Committee intended the Debtors to be beneficiaries when

they drafted and executed the Tolling Agreements is further undercut by the Debtors’ arguments

that Pepsi was aware of the Debtors’ relationship to the Avoidance Actions (see, e.g., Response,

at 24). If, despite that knowledge, Pepsi and the Committee chose not to include the Debtors in the

plain language of the Tolling Agreements, they did so intentionally.

       C.      The Committee is not the Debtors’ Legal Representative

       The Debtors’ third argument, that the Committee acted as the Debtors’ legal representative

(see Response, at 29), completely misses the mark. The Committee was authorized by this Court

to bring the estates’ avoidance actions, and as repeatedly asserted by the Debtors, had concurrent
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standing with the Debtors to bring those actions. A “legal representative” acts on behalf of a party

that cannot act for itself. Fed. Treasury Enter. Sojuzplodoimport v. SPI Spirits, Ltd., 726 F.3d 62,

80-82 (2nd Cir. 2013). As also repeatedly asserted by the Debtors, the estates did not assign the

Avoidance Actions to the Committee and had the separate right to pursue them. (See Section 3,

above). A legal representative is “a principal who has been assigned the rights and obligations of

the party.” Kese Indus. v. Roslyn Torah Found., 15 N.Y.3d 485, 490 (N.Y. 2010). Indeed, as the

record is clear, to get authorization to enter into the Tolling Agreements, the Committee looked to

the Oversight Committee, not the Debtors. (See Response, at 9). Accordingly, there is no basis

on which to conclude that the Committee was the Debtors’ legal representative.

VII.   PEPSI IS ENTITLED TO PARTIAL SUMMARY JUDGMENT ON COUNTS FIVE
       THROUGH TWENTY-FIVE

   Finally, the Debtors’ argument opposing partial summary judgment on Counts 5 through 25

provides every reason to grant Pepsi’s requested relief. In their complaint, the Debtors asserted

multiple claims against each Defendant for promotions at the Debtors’ stores, on the same basic

factual allegations:

          Between December 24, 2010 and [a date between November 25, 2015 and
           January 28, 2016] the named Defendant initiated numerous promotion
           transactions with the Debtors and conducted promotions at their stores;

          The Defendant paid for certain of those promotions;

          The Defendant has not fully paid the Debtors for all of the promotions
           conducted during that time period.

See, e.g., Second Amended Adversary Complaint at ¶¶ 84-85, 88-91, 104, 108, 110, 111.

       Consequently, in an effort to narrow issues for trial and obtain some certainty as to the

specific relief sought by the Debtors, Pepsi moved for summary judgment on any contract claims

outside of the two statutes of limitations that might apply. The Debtors take the remarkable

position that Pepsi should have known from Frito’s proof of claim, rather than from the Debtors’

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complaint, that the Debtors were only seeking relief with respect to one contract claim outside of

the statute of limitations. (Response, at 30).

       The Debtors propose to address their untimely claim by waiving “any accounts receivable

claims on which the Debtors seek recovery in Counts Five through Twenty-Five of the Second

Amended Complaint that arose before April 16, 2014.” (Response, at 30). While the Debtors’

proposed waiver demonstrates the merit of Pepsi’s motion, it provides none of the certainty that

Pepsi seeks via summary judgment. Given that Pepsi has fully briefed a manifestly valid motion

for summary judgment on the statute of limitations governing Counts Five through Twenty-Five

and the Debtors have abandoned the time-barred claims, the only satisfactory and easily

enforceable resolution is for the Court to grant summary judgment on those counts as to any claim

based on a contract arising before April 16, 2014.




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                                      CONCLUSION

      For the foregoing reasons, and for the reasons set forth in Pepsi’s Memorandum of Law in

Support of Summary Judgment, the Court should grant summary judgment in Pepsi’s favor on

Counts One through Four of the Second Amended Complaint and partial summary judgment on

Counts Five through Twenty-Five.

Dated: November 26, 2019                          Respectfully submitted,

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